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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )    NO. 2:09-cr-43
                                          )         2:13-cv-454
 JOVAN DEMONT STEWART,                    )
                                          )
 Defendant/Petitioner.                    )


                           OPINION AND ORDER
       This matter is before the Court on the: (1) “Motion for

 Extension of Time to Submit Brief and Memorandum in Support of

 Movant’s Title 28 USC § 2255 Motion,” filed by Movant, Jovan D.

 Stewart, on December 9, 2013 (DE #500); (2) “Motion for Access to

 Sealed Documents To Be Utilized As Preponderance of the Evidence in

 Movant’s 28:2255 Proceeding,” filed by Movant, Jovan D. Stewart, on

 December 9, 2013 (DE #501); (3) “Motion for Access to Sealed

 Documents to be Utilized as a Preponderance of the Evidence in

 Movant’s 28:2255 Proceeding,” also filed by Movant, Jovan D.

 Stewart, on December 9, 2013 (DE #502); (4) Motion for Extension of

 Time to File Brief and Memorandum in Support of Title 28 USC § 2255

 Motion, filed by Movant, Jovan D. Stewart, on January 13, 2014 (DE

 #510); and (5) Motion for Status, filed by Movant, Jovan D.

 Stewart, on January 13, 2014 (DE #511).         Upon due consideration,

 the Motion for Extension of Time to Submit Brief and Memorandum in
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 Support of Movant’s Title 28 USC § 2255 Motion (DE #500) is GRANTED

 and Stewart shall have up to and including February 14, 2014 to

 file his memorandum in support of his Section 2255 Petition.                    The

 Motions for Access to Sealed Documents (DE ##501 and 502) are

 DENIED, with the exception that the Clerk is ORDERED to include a

 copy of the Complaint dated February 4, 2009 (DE #1), and mail it

 to Stewart with this Order.       Additionally, the second Motion for

 Extension of Time, which is duplicative (DE #510), is DENIED AS

 MOOT, and because the Court has ruled upon these motions, the

 Motion for Status (DE #511) is also DENIED AS MOOT.



 DISCUSSION

       Motion For Extension of Time to File Section Memorandum

       Under section 2255, Stewart had one year from the date on

 which “the judgment of conviction [became] final” in which to bring

 a post conviction motion.       28 U.S.C. § 2255(f)(1).              The Supreme

 Court denied Stewart’s petition for a writ of certiorari on

 December 10, 2012.     See Jovan Stewart v. United States, Appeal No.

 12-7178, 133 S. Ct. 807 (Mem.) (Dec. 10, 2012).              Thus, Stewart had

 until December 10, 2013, to file his section 2255.                Stewart filed

 his Section 2255 motion on December 9, 2013 (DE #499)1, and he

 filed the instant motion as well in which he argues he needs


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        The Government agrees that Stewart’s Section 2255 Petition
 was timely filed. (DE #508, p. 2.)

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 additional time to file a memorandum of law in support of the

 grounds set forth in his Section 2255 Petition.

       Stewart argues he needs additional time to “direct this court

 and the USA to specific portions of the record” and he needs

 additional time to support his ten grounds of relief as he has

 somewhat limited access to the law library.                 (DE #500.) Stewart

 also cites his need for additional documents in his related motion.

 The Government argues Stewart should not be afforded the protection

 provided by 28 U.S.C. § 2255(f)(2), as no governmental action

 violated the Constitution or laws of the United States preventing

 him from timely filing his Section 2255 Petition. (DE #508, p. 3.)

 While the Government may technically be correct, because Stewart

 timely   filed   his   2255   Motion,       and   filed    his   request    for   an

 extension of time to file his memorandum on the same day, and

 because the same leniency was shown by this Court to his co-

 defendant, Justin Cephus, in allowing him additional time to file

 his supporting memorandum, in the best interests of justice and

 fairness, this Court will grant the 30-day extension of time for

 Stewart to prepare his memorandum of law in support of his motion.

 Once the Court receives Stewart’s memorandum of law, it will set a

 briefing schedule for the Government to respond to the Section 2255

 motion and supplemental memorandum.


 Motion for Access to Sealed Documents

       Stewart requests the Complaint at 2/4/09 (DE #1), which has

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 been unsealed.      The Government has no objection, and the Clerk is

 ORDERED to attach a copy of DE #1 to this Order and mail it to

 Stewart.

       Stewart also requests the affidavit and supporting exhibits of

 complaint, 3/11/2009 (DE #12), however, his reference to that date

 and docket entry is mistaken as DE #12 is not an affidavit or

 supporting exhibit to the criminal complaint against him, thus this

 request is denied.        (DE #502, p. 3.)

       Stewart also requests copies of grand jury transcripts                      (DE

 #502, pp. 11-14) and the Government opposes this request.                       This

 Court already denied a similar request (see Order at DE #453),

 thoroughly explaining Defendant’s conviction at trial moots any

 attack    he   is   now   making   on   the    sufficiency    of   the      evidence

 presented to the grand jury, and this Court stands by its previous

 ruling.    Moreover, “[t]o obtain grand jury material, despite the

 presumptive secrecy imposed by Rule 6(e), a litigant must show that

 the information is needed to avoid a possible injustice in another

 judicial proceeding, that the need for disclosure is greater than

 the need for continued secrecy, and that the request is structured

 to cover only material so needed.”              Choiniere v. United States,

 Nos. 3:07-CV-27 RM, 3:05-CR-56,          2009 WL 112585, at *14 (N.D. Ind.

 Jan. 14, 2009) (quotation omitted).               Stewart has not made that

 showing here.

       Stewart requests numerous other discovery documents in a vague


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 fashion, requesting “any and all” reports, interviews, complaints,

 documents, FBI investigation materials, and information in various

 categories, including relating to the purported victims. (DE #502,

 pp. 3-5.)       The Government objects, stating it complied with its

 discovery obligations in the case and thus the relevant documents

 were turned over to Defendant’s counsel prior to trial, Stewart has

 not shown he has exhausted other ways to get the documents, and he

 has not shown they are necessary to prepare a specific non-

 frivolous action.         Stewart concedes that his trial and appellate

 counsel did give him documents they believed were relevant to his

 case (including providing Stewart with ten volumes of transcripts),

 and which they thought would help him in this proceeding.                          (DE

 #502, pp. 6-7.)       Nevertheless, he seeks more documents.                 Stewart

 has made similar requests before in these proceedings, the only

 difference now is that his Section 2255 motion is now pending.

        Stewart’s request is essentially a request for discovery in

 his Section 2255 proceeding.2          When a Petitioner provides reasons

 for discovery requests, the district court has discretion to grant

 discovery upon a showing of “good cause.”             Rules Governing Section

 2255       Proceedings,   6(a).    Good      cause   exists    where        “specific

 allegations before the court show reason to believe that the



        2
       Although Stewart cites Rush v. United States, 559 F.2d 455,
 459 (7th Cir. 1977), in support of this request, that case
 involves access to pre-existing court records, including trial
 transcripts.

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 petitioner may, if the facts are fully developed, be able to

 demonstrate that he is . . . entitled to relief.”              Choiniere, 2009

 WL 112585, at *14 (quoting United States v. Hull, No. 2:02-CV-2,

 2006 WL 752481, at *8 (N.D. Ind. Mar. 21, 2006)).              Stewart has not

 asserted specific facts or allegations to convince the Court that

 he could, if he obtained these additional documents, demonstrate

 his entitlement to relief.             Stewart merely claims the newly

 requested information “will serve to support [his § 2255 Petition]

 as to his requirement to submit the preponderance of the evidence

 therein, and complete/support the preparations of his Brief and

 Memorandum in support ....”        (DE #502, p. 5.)        This vague request

 for volumes of documents is simply insufficient to constitute good

 cause. Nowhere does Stewart articulate which of his 10 claims will

 be supported by the documents, or how it will support any of his

 claims, or how they will show he is entitled to relief under

 Section 2255.    It seems Stewart is merely on a fishing expedition,

 and this is not sufficient.        United States v. Curtner, No. 06-CR-

 20003, 2008 WL 905923, at *1 (C.D. Ill. Apr. 3, 2008) (noting a

 defendant isn’t entitled to conduct a fishing expedition with the

 hope of finding something).

       Finally,   Stewart   seeks    motion      in   limine   transcripts       and

 sentencing transcripts, and he does articulate which counts these

 will support in his section 2255 Motion. (DE #502, pp. 9-10.)                    He

 argues these documents will show his counsel failed to confront his


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 accusers or impeach them, and that the Court erred in excluding

 past history of the purported victims which shows their propensity

 to recommit crimes.       Before providing copies free of charge, the

 requestor must show he is unable to pay for copies, he has

 exhausted all other means of access to his files, and make a

 showing as to the purpose for which the requested documents are

 sought.    United States v. Wilkinson, 618 F.2d 1215, 1218-19 n.4

 (7th Cir. 1980) (recognizing that “[o]nce a § 2255 motion is filed,

 28 U.S.C. § 253(f) provides the funds for a transcript if ‘the suit

 or appeal is . . . not frivolous and . . . the transcript is needed

 to decide the issue presented by the suit’”).              Stewart claims his

 trial   and   appellate   counsel      did    not   provide   him    with      these

 transcripts. (DE #502, p. 10.) However, the sentencing transcript

 has no relevancy to these arguments (which go toward his trial

 counsel’s performance at trial), and Stewart has not specifically

 shown how it is needed to demonstrate his counsel was ineffective

 or otherwise entitle him to relief under Section 2255.                     Regarding

 the motions in limine, Stewart’s argument that “the majority of the

 ‘victims’ had prior ‘pimping’, ‘prostitution’ and ‘drug’ offenses -

 even as juveniles - before they came into contact with Stewart,”

 also does not show how he is entitled to relief under Section 2555,

 and the Court does not believe the transcript is needed to decide

 the issues presented in his Section 2255 Petition.               See Prewitt v.

 United States, 83 F.3d 812, 816 (7th Cir. 1996) (to proceed on a


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 habeas corpus petition pursuant to 28 U.S.C. section 2255, a

 federal prisoner must show that the district court sentenced him in

 violation of the Constitution or laws of the United States, or that

 the sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack).



 CONCLUSION

       For the reasons set forth above, the Motion for Extension of

 Time to Submit Brief and Memorandum in Support of Movant’s Title 28

 USC § 2255 Motion (DE #500) is GRANTED and Stewart shall have up to

 and including February 14, 2014 to file his memorandum in support

 of his Section 2255 Petition.          The     Motions for Access to Sealed

 Documents (DE ##501 and 502) are DENIED, with the exception that

 the Clerk is ORDERED to include a copy of the Complaint dated

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 ruled upon these motions, the Motion for Status (DE #511) is also

 DENIED AS MOOT.



 DATED: January 16, 2014                      /s/ RUDY LOZANO, Judge
                                              United States District Court




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